      Case
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 1   RENE L. VALLADARES
     Federal Public Defender
 2   State Bar No. 11479
     RAQUEL LAZO
 3   Assistant Federal Public Defender
     Nevada State Bar No. 8540
 4   411 E. Bonneville, Ste. 250
     Las Vegas, Nevada 89101
 5   (702) 388-6577/Phone
     (702) 388-6261/Fax
 6   Raquel_Lazo@fd.org

 7   Attorney for Steven Carr

 8
                                 UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:13-cr-250-JAD-VCF

12                  Plaintiff,                           STIPULATION TO CONTINUE
                                                         REVOCATION HEARING
13          v.
                                                         (First Request)
14   STEVEN CARR,
                                                                 ECF No. 203
15                  Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bogden,
18   United States Attorney, and Cristina D. Silva, Assistant United States Attorney, counsel for the
19   United Stated of America, and Rene L. Valladares, Federal Public Defender, and Raquel Lazo,
20   Assistant Federal Public Defender, counsel for Steven Carr, that the Revocation Hearing
21   currently scheduled on Tuesday, June 28, 2016 at 2:45 p.m., be vacated and continued to a date
22   and time convenient to the Court, but no earlier than fourteen (14) days.
23          This Stipulation is entered into for the following reasons:
24          1.      Defense counsel will be out of the jurisdiction at a conference on the currently
25   scheduled date.
26          2.      Additional time is needed to meet with Mr. Carr to discuss the violations.
     Case
      Case2:13-cr-00250-JAD-VCF
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 1        3.     The defendant is not in custody and agrees with the need for the continuance.
 2        4.     The parties agree to the continuance.
 3        This is the first request for a continuance of the revocation hearing.
 4        DATED this 21st day of June, 2016.
 5
 6   RENE L. VALLADARES                             DANIEL G. BOGDEN
     Federal Public Defender                        United States Attorney
 7
 8      /s/ Raquel Lazo                               /s/ Cristina D. Silva
     By_____________________________                By_____________________________
 9   RAQUEL LAZO                                    CRISTINA D. SILVA
     Assistant Federal Public Defender              Assistant United States Attorney
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      Case
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 1                               UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                           Case No. 2:13-cr-250-JAD-VCF
 4
                    Plaintiff,                           ORDER
 5
            v.
 6
     STEVEN CARR,
 7
                    Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the revocation hearing currently scheduled for
     Tuesday,  June28,
     Tuesday, June  28,2016
                        2016atat2:45
                                  2:45p.m.,
                                        p.m.bebefore  Magistrate
                                                vacated           JudgetoPeggy
                                                        and continued            Leen be vacated
                                                                          ________________    at the
11
     and continued to July 8, 2016, at 9:00 a.m. before District Judge Jennifer Dorsey in
12   LV
     hourCourtroom
          of _______ 6D, to beorheard
                     ___.m.;            at the
                                 to a time  andsame  time as Carr’s
                                                date convenient to thechange
                                                                       court. of plea.

13          DATED this _____ day of June, 2016.
                                            _______________________________
14                                          Jennifer Dorsey
                                            United States District Judge
15                                          6/24/16
                                               UNITED STATES MAGISTRATE JUDGE
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